Plaintiff, a tenant in common with defendant Otto Thum, of real estate bordering Spring lake, in Ottawa county, filed a bill against defendant Otto Thum and wife for partition thereof. After answers filed by defendants, a stipulation was entered into providing for the appointment by the trial court of three commissioners in partition. Such commissioners were appointed, made partition of the promises, and, upon the coming in and filing of their report, defendants filed exceptions thereto, and the trial court, after hearing the same, modified the report of the commissioners by giving defendants more land than was awarded them by the commissioners, and defendants appeal. The question in dispute is one of fact. Considering all the evidence, we think the conclusion arrived at by the trial court substantially correct, and its decree is affirmed, with costs.
BUTZEL, C.J., and WIEST, CLARK, McDONALD, SHARPE, NORTH, and FEAD, JJ., concurred. *Page 383 